       Case 2:25-cv-02222-GJP           Document 1        Filed 05/02/25      Page 1 of 40




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CARLA VARGAS                                  :       Civil Action
                                                      :
                                                      :
                       Plaintiff                      :
       v.                                             :      NO: __________________
                                                      :
City of Philadelphia, Symir Yaseen                    :      Formerly
Jackson, P/O Stewart Mills IV                         :
P/O Michael Morris, P/O Jeffrey                       :
Zamborowski, P/O Erik Romanczuk,                      :
John Doe(s) 1-3                                       :      Court of Common Pleas
                                                      :      Trial Division—Civil
                                                      :      February Term, 2025
                       Defendants                     :      No. 250200130
                                                      :
                                                      :      JURY TRIAL DEMANDED
                                                      :

                                    NOTICE OF REMOVAL


To the Honorable Judges of the United States District Court for the Eastern District of
Pennsylvania.
        Pursuant to 28 U.S.C. § 1441, defendant, City of Philadelphia (hereinafter “petitioner”),
through its counsel, Derek Kane, Deputy City Solicitor, respectfully petitions for the removal of
this action to the United States District Court for the Eastern District of Pennsylvania. In support
thereof, defendant state the following:
        1.       On January 31, 2025 the plaintiff initiated this action by Writ of Summons in the
Court of Common Pleas in Philadelphia, February Term, 2025; No. : 250200130. (Exhibit “A.”)


       2.      On April 14, 2025 the plaintiff filed the Complaint in this action. (Exhibit “B.”)

        3.       In Count I of the Complaint, the plaintiff seeks relief against the petitioner under
42 U.S.C. § 1983 for creating a “a state-created danger” and for “violat[ing] Plaintiff’s rights as
guaranteed by the United States Constitution.” See Exhibit B, ¶¶65, 68. In Count II, plaintiff seeks
relief against the petitioner 42 U.S.C. § 1983 under a Monell theory for “causing a violation of
Plaintiff’s rights under the Constitution.” See Exhibit B, ¶73.
        Case 2:25-cv-02222-GJP           Document 1         Filed 05/02/25      Page 2 of 40




         4.      28 U.S.C. § 1331 states that “[t]he district courts shall have original jurisdiction of
all civil actions arising under the Constitution, laws, or treaties of the United States.”

        5.      The United States District Court for the Eastern District of Pennsylvania has
original jurisdiction over the claims alleged by Plaintiff, pursuant to 28 U.S.C. § 1331.

       6.     Defendants SYMIR YASEEN JACKSON, P/O STEWART MILLS, IV, P/O
MICHAEL MORRIS, P/O JEFFERY ZAMBOROWSKI and P/O ERIK ROMANCZUK have not
been served process, and so their consent is not required for this removal according to 28 U.S.C.
§ 1446(b)(2)(a).

       7.      True and correct copies of this Notice of Removal with accompanying exhibits and
separate Notice to State Court of Filing of Notice of Removal, a copy of which is attached hereto
as Exhibit “C,” will be served upon the plaintiff and filed with the Prothonotary of the Court of
Common Pleas of Philadelphia County, Pennsylvania, in accordance with the provisions of 28
U.S.C. § 1446(d).

       8.      In filing this Notice of Removal, the petitioners do not waive any available defenses
in this action.
         Wherefore, petitioner, City of Philadelphia respectfully requests that the captioned
Complaint be removed to the United States District Court for the Eastern District of Pennsylvania.

                                                       BY: /s/ Derek Kane
                                                       Derek Kane
                                                       Deputy City Solicitor
                                                       Attorney I.D. No. 316941
                                                       City of Philadelphia Law Department
                                                       1515 Arch Street, 14th Floor
                                                       Philadelphia, PA 19102
                                                       215-683-5374
Date: May 1, 2025
       Case 2:25-cv-02222-GJP          Document 1       Filed 05/02/25     Page 3 of 40




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CARLA VARGAS                                  :     Civil Action
                                                    :
                                                    :
                      Plaintiff                     :
       v.                                           :      NO: __________________
                                                    :
City of Philadelphia, Symir Yaseen                  :      Formerly
Jackson, P/O Stewart Mills IV                       :
P/O Michael Morris, P/O Jeffrey                     :
Zamborowski, P/O Erik Romanczuk,                    :
John Doe(s) 1-3                                     :      Court of Common Pleas
                                                    :      Trial Division—Civil
                                                    :      February Term, 2025
                      Defendants                    :      No. 250200130
                                                    :
                                                    :      JURY TRIAL DEMANDED
                                                    :

                            NOTICE OF FILING OF REMOVAL

TO:    Jared S. Zafran, Esquire
       1500 Walnut Street, Suite 500
       Philadelphia, PA 19102

       PLEASE TAKE NOTICE THAT on May 1, 2025 the defendant, City of Philadelphia,
filed, in the office of the Clerk of the United States District Court for the Eastern District of
Pennsylvania, a verified Notice of Removal.
        A copy of this Notice of Removal is attached hereto and is also being filed with the Clerk
of the Court of Common Pleas of Philadelphia County, pursuant to Title 28, United States Code,
Section 1446(e).
                                                    /s/ Derek Kane
                                                    Derek Kane
                                                    Deputy City Solicitor
                                                    Attorney I.D. No. 316941
                                                    City of Philadelphia Law Department
                                                    1515 Arch Street, 14th Floor
                                                    Philadelphia, PA 19102
                                                    215-683-5374
       Case 2:25-cv-02222-GJP         Document 1       Filed 05/02/25      Page 4 of 40




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CARLA VARGAS                                :       Civil Action
                                                    :
                                                    :
                     Plaintiff                      :
       v.                                           :      NO: __________________
                                                    :
City of Philadelphia, Symir Yaseen                  :      Formerly
Jackson, P/O Stewart Mills IV                       :
P/O Michael Morris, P/O Jeffrey                     :
Zamborowski, P/O Erik Romanczuk,                    :
John Doe(s) 1-3                                     :      Court of Common Pleas
                                                    :      Trial Division—Civil
                                                    :      February Term, 2025
                     Defendants                     :      No. 250200130
                                                    :
                                                    :      JURY TRIAL DEMANDED
                                                    :


                                 CERTIFICATE OF SERVICE

       I, Derek Kane, Deputy City Solicitor, do hereby certify that a true and correct copy of the
attached Notice of Removal has been served upon the plaintiff’s attorney on the date indicated
below via email:
TO:   Jared S. Zafran, Esquire
      1500 Walnut Street, Suite 500
      Philadelphia, PA 19102

                                                   /s/ Derek Kane
                                                   Derek Kane
                                                   Deputy City Solicitor
                                                   Attorney I.D. No. 316941

Date: May 1, 2025
Case 2:25-cv-02222-GJP   Document 1   Filed 05/02/25   Page 5 of 40




                          Exhibit “A”
       Case 2:25-cv-02222-GJP         Document 1      Filed 05/02/25     Page 6 of 40




ZAFRAN LAW GROUP                                              Filed and Attested by the
By: Jared S. Zafran, Esquire                                Office of Judicial Records
Attorney ID No: 208269                                           31 JAN 2025 01:02 pm
1500 Walnut Street, Suite 500             MAJOR CASE                 L. BREWINGTON
Philadelphia, PA 19102
Phone: 215-587-0038
Email: jared@zafranlaw.com                Attorney for Plaintiff
_______________________________________________________________________
CARLA VARGAS                           :  COURT OF COMMON PLEAS
911 Longshore Avenue                   :  PHILADELPHIA COUNTY, PA
Philadelphia, PA 19111                 :  CIVIL ACTION
                             Plaintiff :
       vs.                             :  January Term, 2025
                                       :
CITY OF PHILADELPHIA                   :  No.: ____________
Risk Management Division – Claims Unit :
1515 Arch Street                       :
Philadelphia, PA 19102                 :
                             Defendant :
______________________________________________________________________

                            PRAECIPE TO ISSUE SUMMONS


TO THE PROTHONOTARY:


       Kindly issue a Writ of Summons to Defendant, City of Philadelphia, in the above-

captioned case.




                                                          ZAFRAN LAW GROUP




                                                  BY:       /s/ Jared S. Zafran, Esq.
                                                           JARED S. ZAFRAN, ESQUIRE
                                                          1500 Walnut Street, Suite 500
                                                          Philadelphia, PA 19102
                                                          (215) 587-0038


Date: January 31, 2025




                                                                                      Case ID: 250200130
                         Case 2:25-cv-02222-GJP           Document 1     Filed 05/02/25       Page 7 of 40         Summons
                                                                                                                    Citacion

                                              Commonwealth of Pennsylvania
                                                      COUNTY OF PHILADELPHIA


           CARLA VARGAS
                                                                 :       COURT OF COMMON PLEAS
          Plaintiff                                              :       JANUARY                    25
                                                                 :                       Term, 20
                                                                 :
                                 vs.                             :
          CITY OF PHILADELPHIA                                   :       No.
                                                                 :
                                                                 :
          Defendant



              To 1
              CITY OF PHILADELPHIA
              Risk Managment Division - Claims Unit
              1515 Arch Street
              Philadelphia, PA 19102




                                                       Writ of Summons

              You are notified that the Plaintiff 2
              Usted esta avisado que el demandante
              CARLA VARGAS
              911 Longshore Avenue
              Philadelphia, PA 19111




              Has (have) commenced an action against you.
              Ha (han) iniciado una accion en contra suya.




                                                                 ERIC FEDER
                                                                 Director, Office of Judicial Records


                                                                 By:                                        250200130
                                                                                                         31 JAN 2025 01:02 pm
                                                                                                             L. BREWINGTON
                                                                 Date:

10-208 (Rev. 6/14

          1
              Name(s) of Defendant(s)                                                                       Case ID: 250200130
          2
              Name(s) of Plaintiff(s)
Case 2:25-cv-02222-GJP   Document 1         Filed 05/02/25   Page 8 of 40




                    Court of Common Pleas
                         JANUARY                   25
                                        Term, 20

                                No.




                     CARLA VARGAS

                    Plaintiff
                                      vs.
                     CITY OF PHILADELPHIA

                    Defendant




                                SUMMONS




                                                                            Case ID: 250200130
Case 2:25-cv-02222-GJP   Document 1   Filed 05/02/25   Page 9 of 40




                          Exhibit “B”
      Case 2:25-cv-02222-GJP     Document 1      Filed 05/02/25        Page 10 of 40




ZAFRAN LAW GROUP                                                  Filed and Attested by the
By: Jared S. Zafran, Esquire                                     Office of Judicial Records
Attorney ID No: 208269                                               14 APR 2025 10:14 am
1500 Walnut Street, Suite 500                 MAJOR CASE                  B. MERCEDES
Philadelphia, PA 19102
Phone: 215-587-0038
Email: jared@zafranlaw.com                    Attorney for Plaintiff

CARLA VARGAS                           :      COURT OF COMMON PLEAS
911 Longshore Avenue                   :      PHILADELPHIA COUNTY, PA
Philadelphia, PA 19111                 :      CIVIL ACTION
                             Plaintiff :
       vs.                             :
                                       :
SYMIR YASEEN JACKSON                   :
1705 N. 18th Street                    :
Philadelphia, PA 19121                 :
                                       :
       and                             :
                                       :
P/O STEWART MILLS, IV, in his          :      No.:   250200130
individual and official capacity       :
Philadelphia Police Department         :
  th
24 District                            :
3901 Whitaker Avenue                   :
Philadelphia, PA 19124                 :
                                       :
       and                             :
                                       :
P/O MICHAEL MORRIS, in his             :
individual and official capacity       :
Philadelphia Police Department         :
  th
24 District                            :
3901 Whitaker Avenue                   :
Philadelphia, PA 19124                 :
                                       :
       and                             :
                                       :
P/O JEFFERY ZAMBOROWSKI, in his :
individual and official capacity       :
Philadelphia Police Department         :
 nd
2 District                             :
7306 Castor Avenue                     :
Philadelphia, PA 19152                 :
                                       :
       and                             :



                                                                                  Case ID: 250200130
          Case 2:25-cv-02222-GJP                       Document 1       Filed 05/02/25              Page 11 of 40




P/O ERIK ROMANCZUK, in his                   :
individual and official capacity             :
Philadelphia Police Department               :
24th District                                :
3901 Whitaker Avenue                         :
Philadelphia, PA 19124                       :
                                             :
       and                                   :
                                             :
CITY OF PHILADELPHIA                         :
Risk Management Division – Claims Unit :
1515 Arch Street                             :
Philadelphia, PA 19102                       :
                                             :
       and                                   :
                                             :
JOHN DOE(S) 1-3 used herein to designate :
one or more unknown parties to this incident :
                                             :




                                                         NOTICE/AVISO

You have been sued in court. If you wish to defend against the      Le han demandado a usted en la corte. Si usted quiere
claims set forth in the following pages, you must take action       defenderse de estas demandas expuestas en las páginas
within twenty (20) days after this complaint and notice are         siguientes, usted tiene veinte (20) días de plazo al partir de la
served, by entering a written appearance personally or by           fecha de la demanda y la notificación. Hace falta asentar una
attorney and filing in writing with the court your defenses or      comparecencia escrita o en persona o con un abogado y entregar
objections to the claims set forth against you. You are warned      a la corte en forma escrita sus defensas o sus objeciones a las
that if you fail to do so the case may proceed without you and a    demandas en contra de su persona. Sea avisado que si usted no
judgment may be entered against you by the court without            se defiende, la corte tomara medidas y puede continuar la
further notice for any money claimed in the complaint or for any    demanda en contra suya sin previo aviso o notificación.
other claim or relief requested by the plaintiff. You may lose      Además, la corte puede decidir a favor del demandante y
money or property or other rights important to you.                 requiere que usted cumpla con todas las provisiones de esta
                                                                    demanda. Usted puede perder dinero o sus propiedades u otros
You should take this paper to your lawyer at once. If you do not    derechos importantes para usted.
have a lawyer or cannot afford one, go to or telephone the office
set forth below to find out where you can get legal help.           Lleve esta demanda a un abogado inmediatamente. Si no tiene
                                                                    abogado o si no tiene el dinero suficiente de pagar tal servicio.
                Philadelphia Bar Association                        Vaya en persona o llame por teléfono a la oficina cuya dirección
           Lawyer Referral and Information Service                  se encuentra escrita abajo para averiguar donde se puede
                     1101 Market Street                             conseguir asistencia legal.
                   Philadelphia, PA 19107
                       (215) 238-6333                                           Asociación De Licenciados De Filadelfia
                                                                              Servicio de Referencia E Información Legal
                                                                                          1101 Market Street
                                                                                        Philadelphia, PA 19107
                                                                                            (215) 238-6333




                                                                                                                        Case ID: 250200130
      Case 2:25-cv-02222-GJP     Document 1      Filed 05/02/25        Page 12 of 40




ZAFRAN LAW GROUP
By: Jared S. Zafran, Esquire
Attorney ID No: 208269
1500 Walnut Street, Suite 500                 MAJOR CASE
Philadelphia, PA 19102
Phone: 215-587-0038
Email: jared@zafranlaw.com                    Attorney for Plaintiff

CARLA VARGAS                           :      COURT OF COMMON PLEAS
911 Longshore Avenue                   :      PHILADELPHIA COUNTY, PA
Philadelphia, PA 19111                 :      CIVIL ACTION
                             Plaintiff :
        vs.                            :
                                       :
SYMIR YASEEN JACKSON                   :
1705 N. 18th Street                    :
Philadelphia, PA 19121                 :
        and                            :
P/O STEWART MILLS, IV, in his          :      No.:   250200130
individual and official capacity       :
Philadelphia Police Department         :
  th
24 District                            :
3901 Whitaker Avenue                   :
Philadelphia, PA 19124                 :
        and                            :
P/O MICHAEL MORRIS, in his             :
individual and official capacity       :
Philadelphia Police Department         :
  th
24 District                            :
3901 Whitaker Avenue                   :
Philadelphia, PA 19124                 :
        and                            :
P/O JEFFERY ZAMBOROWSKI, in his :
individual and official capacity       :
Philadelphia Police Department         :
2nd District                           :
7306 Castor Avenue                     :
Philadelphia, PA 19152                 :
        and                            :
P/O ERIK ROMANCZUK, in his             :
individual and official capacity       :
Philadelphia Police Department         :
24th District                          :
3901 Whitaker Avenue                   :
Philadelphia, PA 19124                 :
        and                            :



                                                                                  Case ID: 250200130
        Case 2:25-cv-02222-GJP            Document 1           Filed 05/02/25    Page 13 of 40




 CITY OF PHILADELPHIA                         :
 Risk Management Division – Claims Unit :
 1515 Arch Street                             :
 Philadelphia, PA 19102                       :
        and                                   :
 JOHN DOE(S) 1-3 used herein to designate :
 one or more unknown parties to this incident :
                                              :

                                   CIVIL ACTION COMPLAINT

                                               PARTIES

         1.      Plaintiff, Carla Vargas, is an adult individual currently residing at the above-

captioned address.

         2.      Defendant, Symir Yaseen Jackson, is an adult individual currently residing at the

above-captioned address.

         3.      Defendant, Police Officer Stewart Mills IV (hereinafter, “Officer Mills”), is an

adult individual and resident of the Commonwealth of Pennsylvania who was, at all times relevant

and material hereto, a police officer with the 24th District of the Philadelphia Police Department

which has their district headquarters at the above-captioned address.

         4.      Defendant, Police Officer Michael Morris (hereinafter “Officer Morris”), is an

adult individual and resident of the Commonwealth of Pennsylvania who was, at all times relevant

and material hereto, a police officer with the 24th District of the Philadelphia Police Department

which has their district headquarters at the above-captioned address.

         5.      Defendant,     Police    Officer    Jeffery     Zamborowski     (hereinafter   “Officer

Zamborowski”), is an adult individual and resident of the Commonwealth of Pennsylvania who

was, at all times relevant and material hereto, a police officer with the 2nd District of the Philadelphia

Police Department which has their district headquarters at the above-captioned address.




                                                    2
                                                                                                Case ID: 250200130
       Case 2:25-cv-02222-GJP          Document 1       Filed 05/02/25      Page 14 of 40




        6.     Defendant, Police Officer Erik Romanczuk (hereinafter “Officer Romanczuk”), is

an adult individual and resident of the Commonwealth of Pennsylvania who was, at all times

relevant and material hereto, a police officer with the 15th District of the Philadelphia Police

Department which has their district headquarters at the above-captioned address.

        7.     Defendant, City of Philadelphia, is a political subdivision, also known as local

agency, of the Commonwealth of Pennsylvania, duly organized and existing under the laws of the

Commonwealth of Pennsylvania with offices located at the above-captioned address, and at all

relevant times herein subject to the provisions providing for exceptions to local agency immunity

as set forth at 42 Pa. C.S. §8542.

        8.     Defendant, John Doe(s) 1-3, are designations pursuant to Pennsylvania Rule of

Civil Procedure 2005 to represent the employee(s) and/or officer(s) of Defendant, City of

Philadelphia, responsible for the serious injuries sustained by Plaintiff, Carla Vargas, herein,

should that individual or entity be one other than those named in the caption of this Complaint and

whose exact identity remains unknow to Plaintiff.

        9.     At all times relevant and material hereto, Defendant(s), Officer Mills, Officer

Morris, Officer Zamborowski, Officer Romanczuk, and/or John Doe(s) 1-3, were acting as the

agent(s) and/or employee(s) of Defendant, City of Philadelphia, were operating their motor

vehicle(s) with the express permission, knowledge, and/or authority of Defendant, City of

Philadelphia, and were acting during the course and scope of their employment for the Philadelphia

Police Department.

        10.    Political Subdivision tort immunity is excepted at 42 Pa. C.S. §8542(b)(1), in

claims relating to the negligent operation of motor vehicles owned and/or controlled by the local




                                                3
                                                                                          Case ID: 250200130
       Case 2:25-cv-02222-GJP           Document 1      Filed 05/02/25      Page 15 of 40




agency, in this case, negligence claims asserted herein by Plaintiff, Carla Vargas, against

Defendant(s), City of Philadelphia, as more fully set forth below.

                                    JURISDICTION AND VENUE

       11.     Plaintiff, Carla Vargas, incorporates by reference thereto paragraphs 1-10 above,

inclusive as though the same were set forth herein at length.

       12.     This Court possesses subject matter jurisdiction over this matter under PA. CONST.

ART. V § 5 and 42 PA. CONS. STAT. § 931.

       13.     This Court possesses personal jurisdiction over each Defendant in this matter under

42 PA. CONS. STAT. § 5322.

       14.     Philadelphia County is a proper venue in this action pursuant to Pennsylvania Rules

of Civil Procedure 1006 and 2103, as the City of Philadelphia is coterminous with Philadelphia

County.

       15.     The amount in controversy in this matter exceeds the amount requiring arbitration

under the local applicable rules.

                                             FACTS

       16.     Plaintiff, Carla Vargas, incorporates by reference thereto paragraphs 1-15 above,

inclusive as though the same were set forth herein at length.

       17.     On June 28, 2023, at approximately 06:10 p.m., Plaintiff, Carla Vargas, was

operating a motor vehicle traveling northbound on I Street, in the City and County of Philadelphia,

Commonwealth of Pennsylvania.

       18.     At or shortly before 06:10 p.m., on June 28, 2023, Defendant, Symir Yaseen

Jackson, was operating a motor vehicle traveling westbound on E. Luzerne Street, at or near its




                                                 4
                                                                                          Case ID: 250200130
        Case 2:25-cv-02222-GJP         Document 1      Filed 05/02/25      Page 16 of 40




intersection with Whitaker Avenue, in the City and County of Philadelphia, Commonwealth of

Pennsylvania.

        19.     At the aforementioned time, date, and location, Defendant, Officer Mills, was

operating a motor vehicle with Defendant, Officer Morris, aboard as a passenger in a marked police

cruiser owned by the Defendant, City of Philadelphia, also traveling westbound on E. Luzerne

Street, at or near its intersection with Whitaker Avenue, in the City and County of Philadelphia,

Commonwealth of Pennsylvania.

        20.     Upon information and belief, at the aforementioned time, date, and location,

Defendant(s), Officer Miles and/or Officer Morris, observed a temporary paper tag on the motor

vehicle operated by Defendant, Symir Yaseen Jackson.

        21.     Upon information and belief, and with no other corroborating information,

Defendant(s) Officer Miles and/or Officer Morris, believed this vehicle was stolen on June 27,

2023.

        22.     Upon information and belief, at the aforementioned time, date, and location,

Defendant, Symir Yaseen Jackson, crossed into the eastbound lanes of E. Luzerne Street in order

to pass a motor vehicle traveling westbound on E. Luzerne Street before turning right onto

northbound Whitaker Avenue while facing a steady red traffic signal.

        23.     Upon information and belief, at the aforementioned time, date, and location,

Defendant, Symir Yaseen Jackson, turned right from northbound Whitaker Avenue onto eastbound

E. Hunting Park Avenue while facing a steady red traffic signal.

        24.     Upon information and belief, Defendant(s) Officer Mills and Officer Morris, began

to pursue Defendant, Symir Yaseen Jackson, at or near the intersection of Whitaker Avenue and

E. Hunting Park Avenue, with the police vehicle’s sirens and lights engaged.



                                                5
                                                                                         Case ID: 250200130
       Case 2:25-cv-02222-GJP           Document 1        Filed 05/02/25      Page 17 of 40




       25.     At all times relevant and material hereto, the area along E. Hunting Park Avenue at

or near its intersection with I Street is a densely-populated residential neighborhood also consisting

of commercial properties including the Hunting Park Plaza shopping center.

       26.     Upon information and belief, and at the aforementioned time, date, and location,

Defendant(s), Officer Mills and Officer Morris, continued to pursue Defendant, Symir Yaseen

Jackson, while traveling eastbound at an excessive rate of speed on E. Hunting Park Avenue, in

excess of all posted and/or applicable speed limits in the area, and in a reckless and/or careless

disregard for the safety and well-being of other motorists and/or pedestrians in the area.

       27.     Upon information and belief, and at the aforementioned time, date, and location,

Defendant, Symir Yaseen Jackson, refused to stop and/or yield for the Defendants, Officer Mills

and Officer Morris, while the officers were in pursuit of the Defendant Jackson at a high, unsafe,

and/or excessive rate of speed and with their vehicle’s lights and/or sirens engaged, which

constituted a reckless and/or careless disregard for the safety and well-being of other motorists

and/or pedestrians in the area.

       28.     At the aforementioned time, date, and location, Defendant(s), Officer Zamborowski

and Officer Romanczuk, were the operators and/or occupants of a police motor vehicle traveling

westbound on E. Hunting Park Avenue, at or near its intersection with I Street, in the City and

County of Philadelphia, Commonwealth of Pennsylvania, and were, at all times relevant and

material hereto, stopped at the steady red traffic signal controlling westbound E. Hunting Park

Avenue at its intersection with I Street.

       29.     At the aforementioned time, date, and location, Plaintiff, Carla Vargas, was

operating a motor vehicle traveling northbound on I Street, at or near its intersection with E.

Hunting Park Avenue, in the City and County of Philadelphia, Commonwealth of Pennsylvania.



                                                  6
                                                                                             Case ID: 250200130
       Case 2:25-cv-02222-GJP          Document 1        Filed 05/02/25      Page 18 of 40




       30.     At the aforementioned time, date, and location, Plaintiff, Carla Vargas, proceeded

straight into the intersection of I Street and E. Hunting Park Avenue in a controlled and careful

manner while traveling northbound on I Street and while facing the steady green traffic signal then

controlling northbound I Street at its intersection with E. Hunting Park Avenue.

       31.     At the aforementioned time, date, and location, Defendant, Symir Yaseen Jackson,

while being pursued by Defendants, Officer Mills and Officer Morris, disregarded the traffic

conditions and control devices present on E. Hunting Park Avenue at its intersection with I Street,

including the steady red traffic signal controlling eastbound E. Hunting Park Avenue and in so

doing, entered the aforesaid intersection at an excessive rate of speed and forcibly collided with

the driver’s side of the motor vehicle operated by Plaintiff, Carla Vargas, as Plaintiff lawfully

traveled into the intersection.

       32.      As a result of the initial collision, the motor vehicle operated and occupied by

Plaintiff, Carla Vargas, was propelled into the stopped motor vehicles facing westbound on E.

Hunting Park Avenue at its intersection with I Street, including the stopped police van operated

and/or occupied by Defendants, Officer Zamborowski and Officer Romanczuk.

       33.     Upon information and belief, at no time prior to the collision did Defendant(s),

Officer Zamborowski and/or Officer Romanczuk, alert and/or attempt to alert Plaintiff, Carla

Vargas, of the impending chase and/or collision, despite Defendants having a clear, unobstructed

view of the oncoming, eastbound lanes of E. Hunting Park Avenue for several blocks prior to its

intersection with I Street and despite having this pursuit broadcast over police radio.

       34.     Upon information and belief, and at all times relevant and material hereto, and prior

to engaging in the police pursuit with Defendant, Symir Yaseen Jackson, Defendants, Officer Mills

and Officer Morris, were unaware of Defendant Jackson’s identity, had not spoken to and/or



                                                 7
                                                                                           Case ID: 250200130
       Case 2:25-cv-02222-GJP           Document 1         Filed 05/02/25   Page 19 of 40




approached Defendant Jackson, nor had they observed Defendant Jackson engaging in a violent

and/or forceful felony prior to engaging in the pursuit.

        35.     Following the collision, a search was conducted on the vehicle operated by

Defendant, Symir Yaseen Jackson, which found no weapons or illegal contraband, and it was

further determined that the motor vehicle operated by Defendant, Symir Yaseen Jackson, was a

different vehicle from the one reported stolen on June 27, 2023.

        36.     Defendant, City of Philadelphia, by and through the Philadelphia Police

Department, has established guidelines and/or directives, most specifically Directive 9.4,

governing the acceptable circumstances upon which a Philadelphia police officer may engage in a

high-speed pursuit or chase. (A true and correct copy of Directive 9.4, most recently updated on

October, 28, 2022, is attached hereto as Exhibit “A”).

        37.     The clear language of Directive 9.4 instructs officers to primarily consider “the

safety and welfare of the public, other officers, as well as the suspect(s). Every officer and

supervisor must always weigh the benefits of immediate capture with the risks inherent to the

pursuit itself.” See Id.

        38.     Philadelphia Police Department Directive 9.4 outlines two scenarios where a

vehicle pursuit by police may be justified.

        39.     Pursuant to Directive 9.4, a vehicular pursuit by police may be justified when

officers are in close proximity to the suspect’s vehicle and believe the pursuit is necessary to

prevent death or serious bodily injury to another. Id.

        40.     Secondly, a pursuit may be justified if the officers are in close proximity to the

suspect’s vehicle, believes that the pursuit is necessary to effect the arrest or prevent escape and

the officer either has probable cause to believe that the suspect has committed or attempted a



                                                 8
                                                                                           Case ID: 250200130
       Case 2:25-cv-02222-GJP          Document 1        Filed 05/02/25       Page 20 of 40




forcible felony or has probable cause to believe the suspect possesses a deadly weapon used in the

commission of a crime. Id.

       41.     Additionally, Section 4 of Directive 9.4 outlines specific responsibilities for those

engaged in a police pursuit. Id.

       42.     Pursuant to Directive 9.4, the initiating/primary police unit has the responsibility to

determine the necessity of commencing or terminating a police pursuit based on several factors,

including, but not limited to, the location and population density of the area, proximity to areas

such as shopping centers, as well as prevailing weather and road conditions. Id.

       43.     Furthermore, pursuant to Directive 9.4, officers have the authority to self-terminate

a vehicular pursuit at any time upon consideration of the present and/or changing circumstances

as outlined above. Id.

       44.     Upon information and belief, Defendants, Officer Mills and Officer Morris,

engaged in an unjustifiable pursuant to the aforesaid directive(s) promulgated by the Philadelphia

Police Department.

       45.     Upon information and belief, Defendants, Officer Mills and Officer Morris, did not

reasonably believe the pursuit was necessary to prevent the death or serious bodily injury to

another.

       46.     Upon information and belief, Defendants, Officer Mills and Officer Morris, did not

reasonably believe the pursuit was necessary to effect the arrest or prevent escape, while also

lacking probable cause to believe the suspect committed or attempted to commit a forcible felony,

or that the suspect possessed a deadly weapon used in the commission of a crime.

       47.     Despite lacking any information which would justify a pursuit pursuant to the

directives promulgated by the Philadelphia Police Department, Defendant(s), Officer Mills and



                                                 9
                                                                                            Case ID: 250200130
       Case 2:25-cv-02222-GJP           Document 1        Filed 05/02/25       Page 21 of 40




Officer Morris, engaged Defendant, Symir Yaseen Jackson, in a high-speed pursuit during the

evening rush hour in a densely populated residential area in close proximity to a large shopping

center, even though such pursuit posed a significant risk to bystanders, pedestrians, and other

motorists, including Plaintiff.

       48.     By engaging in the high-speed pursuit in a residential area during evening rush

hour, Defendant(s), Officer Mills and Officer Morris, affirmatively used their authority acting

under the color the law to expose Plaintiff to a state-created danger to which she would not have

otherwise been subjected.

       49.     As a direct and proximate result of the high-speed pursuit commenced by

Defendant(s), Officer Mills and Officer Morris, the motor vehicle operated by Plaintiff, Carla

Vargas, was forcibly and violently struck by Defendant, Symir Yaseen Jackson, as Plaintiff

lawfully traveled through the intersection of I Street and E. Hunting Park Avenue.

       50.     As a direct and proximate result of the recklessness, negligence, and/or carelessness

of Defendant, Symir Yaseen Jackson, the motor vehicle operated by Plaintiff, Carla Vargas, was

forcibly and violently struck by Defendant, Symir Yaseen Jackson, as Plaintiff lawfully traveled

through the intersection of I Street and E. Hunting Park Avenue.

       51.     As a direct and proximate result of the aforesaid collision caused by the joint and/or

several negligence, carelessness, and/or recklessness of Defendant(s), Plaintiff, Carla Vargas,

sustained injuries throughout their body which are or may become serious and permanent,

including but not limited to hip and pelvis injuries requiring surgery, including fractures to the left

and right sacral ala, sacral s4 segment, right acetabular, right superior pubic ramus, left and right

inferior pubic rami, and left pubis symphysis, back injuries including T5-T7 and L5 transverse

process fractures, internal injuries including a left pneumothorax requiring a breathing tube, a



                                                  10
                                                                                             Case ID: 250200130
       Case 2:25-cv-02222-GJP            Document 1        Filed 05/02/25      Page 22 of 40




grade 3 left renal laceration with a perinephric hematoma, and a grade 2 left hepatic laceration,

and head injuries resulting in a loss of consciousness, as well as other ills and injuries, all to their

ongoing detriment and loss, a claim for all of which is made herein, as well as a severe, serious

and permanent shock to their entire nervous system and other injuries, the full extent of which are

not yet known, some of which or all of which are severe, serious and permanent in nature, all of

which have caused them and will continue to cause them great pain and agony, and have prevented

them and will continue in the future to prevent them from attending to their daily duties all to their

great financial damage and loss.

       52.     As a direct and proximate result of the above-described collision that was factually

caused by the negligence of the Defendants, Plaintiff, Carla Vargas, suffered serious, severe,

and/or permanent physical injuries, and/or serious impairment of bodily function, economic

damages including but not limited to medical bills and out of pocket expenses, and other injuries,

damages and/or losses as more fully set forth herein.

       53.     As a further direct and proximate result of the joint and/or several negligence of

Defendants, Plaintiff, Carla Vargas, has undergone reasonable and necessary medical treatment

and rehabilitative services for the injuries they sustained, incurred various expenses for said

treatment and services, and they may incur various reasonable and necessary future medical

expenses from the injuries they sustained, for which these Defendants are jointly and/or severally

liable, including as to any subrogation liens, a claim for which is made herein.

       54.     As a further direct and proximate result of the joint and/or several negligence of

Defendants, Plaintiff, Carla Vargas, has suffered a loss of past earnings and the impairment of their

future earning capacity, all to their ongoing detriment and loss, a claim for which is made herein.

       55.     As a further direct and proximate result of the joint and/or several negligence of



                                                  11
                                                                                              Case ID: 250200130
          Case 2:25-cv-02222-GJP          Document 1       Filed 05/02/25      Page 23 of 40




Defendants, Plaintiff, Carla Vargas, may hereafter incur property damage, vehicle rental and

storage expenses and losses, all to their ongoing detriment and loss, a claim for which is made

herein.

          56.     As a further direct and proximate result of the joint and/or several negligence of

Defendants, Plaintiff, Carla Vargas, may hereafter incur other financial expenses and losses, all to

their ongoing detriment and loss, a claim for which is made herein.

          57.     As a further direct and proximate result of the joint and/or several negligence of

Defendants, Plaintiff, Carla Vargas, has suffered physical pain, aches, emotional distress and

humiliation, inconveniences, and loss of enjoyment of life, and they may continue to suffer same

for an indefinite time in the future, all to their ongoing detriment and loss, a claim for all of which

is made herein.

          58.     As a further direct and proximate result of the joint and/or several negligence of

Defendants, Plaintiff, Carla Vargas, has been unable to fully attend to their daily chores, duties,

occupations and activities of daily living, and/or has been rendered at least partially functionally

impaired, and may continue to be for an indefinite period of time, all to their ongoing detriment

and loss, a claim for which is made herein.

          59.     This collision directly and proximately resulted solely from the joint and/or several

negligence, recklessness, and/or carelessness of Defendants, and was due in no manner whatsoever

to any act or omission of the Plaintiff, Carla Vargas, in the operation of a motor vehicle.

                          COUNT I - CIVIL RIGHTS – 42 U.S.C. § 1983

                Carla Vargas v. Officer Mills, Officer Morris, Officer Zamborowski,
                  Officer Romanczuk, City of Philadelphia, and John Doe(s) 1-3

          60.     Plaintiff, Carla Vargas, incorporates by reference thereto paragraphs 1-59 above,

inclusive as though the same were set forth herein at length.

                                                   12
                                                                                              Case ID: 250200130
       Case 2:25-cv-02222-GJP           Document 1        Filed 05/02/25      Page 24 of 40




       61.      At all times relevant and material hereto, Defendants, Officer Mills, Officer Morris,

Officer Zamborowski, Officer Romanczuk, and/or John Doe(s) 1-3, were employees of the

Philadelphia Police Department and therefore of Defendant, City of Philadelphia, were acting

under the color of state law pursuant to that authority, and are therefore subject to suit pursuant to

42 U.S.C. § 1983 for actions undertaken while acting under the color of state law.

       62.      At all times relevant and material hereto, Defendants, Officer Mills, Officer Morris,

Officer Zamborowski, Officer Romanczuk, and/or John Doe(s) 1-3 were acting as the agent(s)

and/or employee(s) of Defendant, City of Philadelphia, therefore rending Defendant, City of

Philadelphia, vicariously liable for the officers’ actions by and through the doctrine of respondeat

superior.

       63.      Defendants’ conduct, by engaging in an unjustified high-speed pursuit into a

residential and commercial area during the evening rush hour, constituted a conscious disregard

and/or deliberate indifference to the safety, well-being, and rights of others, namely the Plaintiff,

Carla Vargas.

       64.      Defendants’ conduct, as set forth herein, created a danger and/or risk of harm to

those in the position of Plaintiff, Carla Vargas, that otherwise would not have existed but for the

actions of Defendants, as aforementioned.

       65.      Defendants’ conduct, as set forth herein, constitutes a state-created danger, as

Defendants were acting under the color of state law at all times relevant hereto.

       66.      Defendants’ conduct, in creating a substantial and unjustifiable risk to members of

the public, including the Plaintiff, herein, shocks the conscience.




                                                 13
                                                                                            Case ID: 250200130
       Case 2:25-cv-02222-GJP           Document 1          Filed 05/02/25    Page 25 of 40




        67.     As a direct and proximate result of the joint and/or several negligence, carelessness,

and/or recklessness of Defendants, Plaintiff, Carla Vargas, suffered the aforementioned serious

and permanent bodily injuries as averred herein.

        68.     Defendants’ conduct, as set forth herein, violated Plaintiff’s rights as guaranteed by

the United States Constitution and Plaintiff is therefore entitled to the legal remedies as set forth

under 42 U.S.C. § 1983.

        WHEREFORE, Plaintiff, Carla Vargas, respectfully demands judgment in their favor and

against above Defendants, Officer Mills, Officer Morris, Officer Zamborowski, Officer

Romanczuk, City of Philadelphia, and/or John Doe(s) 1-3, for compensatory and punitive damages

in an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus interest, costs, and damages

for delay.

               COUNT II – CIVIL RIGHTS – 42 U.S.C. § 1983 (Monell Claim)

                                Carla Vargas v. City of Philadelphia

        69.     Plaintiff, Carla Vargas, incorporates by reference thereto paragraphs 1-68 above,

inclusive as though the same were set forth herein at length.

        70.     Defendant, City of Philadelphia, as a local government, qualifies as a “person”

subject to direct liability pursuant to 42 U.S.C. § 1983.

        71.     At all times relevant and material hereto, Defendant, City of Philadelphia, acted

under the color of state law.

        72.     At all times relevant and material hereto, Defendant, City of Philadelphia, was

acting as a policymaker, whose directives, declarations, and/or pronouncements were given the

effect of state law.




                                                 14
                                                                                            Case ID: 250200130
         Case 2:25-cv-02222-GJP          Document 1        Filed 05/02/25      Page 26 of 40




         73.    At all times relevant and material hereto, Defendant, City of Philadelphia,

promulgated policies, regulations, directives, and/or declarations governing police pursuits, which

were violated by Defendant(s), Officer Mills and Officer Morris, when they engaged Defendant

Jackson in a high-speed pursuit in a residential area during the evening rush hour, thereby causing

a violation of Plaintiff’s rights under the Constitution. See 42 U.S.C. § 1983, Monell v. Dep’t of

Soc’l Serv’s, 436 U.S. 658 (1978) and their progeny.

         74.    As a direct and proximate result of the failure of Defendant, City of Philadelphia,

to sufficiently train its police officers and/or to promulgate adequate policies or practices to prevent

the aforementioned collision, Plaintiff, Carla Vargas, suffered the aforementioned serious and

permanent bodily injuries as averred herein.

         WHEREFORE, Plaintiff, Carla Vargas, respectfully demands judgment in their favor and

against above Defendant, City of Philadelphia, for compensatory and punitive damages in an

amount in excess of Fifty Thousand ($50,000.00) Dollars, plus interest, costs, and damages for

delay.

                                  COUNT III – NEGLIGENCE

                        Carla Vargas v. Officer Mills and Officer Morris

         75.    Plaintiff, Carla Vargas, incorporates by reference thereto paragraphs 1-74 above,

inclusive as though the same were set forth herein at length.

         76.    At all times relevant and material hereto, Defendants, Officer Mills and Officer

Morris, were acting as agents and/or employees of the Philadelphia Police Department and

therefore of Defendant, City of Philadelphia.

         77.    The individual, joint and/or several negligence and/or recklessness of Defendant(s),

Officer Mills and Officer Morris, consisted of the following:



                                                  15
                                                                                              Case ID: 250200130
       Case 2:25-cv-02222-GJP           Document 1        Filed 05/02/25      Page 27 of 40




               (a)     Engaging Defendant Jackson in an unjustifiable police pursuit pursuant to
                       Directive 9.4;

               (b)     Engaging Defendant Jackson in a police pursuit without the reasonable
                       belief that the pursuit was necessary to prevent death or serious bodily
                       injury;

               (c)     Engaging Defendant Jackson in a police pursuit without probable cause to
                       believe the suspect committed or attempted to commit a forcible felony or
                       possessed a deadly weapon;

               (d)     Engaging in a police pursuit with a suspect headed towards an area which
                       Defendants knew or, in their experience, should have known was densely
                       populated with stores, shopping centers, in heavily-traveled intersections;

               (e)     Engaging in a police pursuit during the evening rush hour;

               (f)     Failing to continually monitor the circumstances the determine if the
                       necessity for the police pursuit outweighed the risk to members of the
                       public, including Plaintiff;

               (g)     Failing to radio nearby units in a timely manner to notify them of the
                       pursuit; and,

               (h)     Failing to self-terminate the police pursuit in the interest of public safety.

       78.     As a direct and proximate result of the joint and/or several negligence, carelessness,

and/or recklessness of Defendants, Plaintiff, Carla Vargas, suffered the aforementioned serious

and permanent bodily injuries as averred herein.

       79.     The conduct of Defendants, by engaging the suspect in a high-speed vehicle pursuit

during the evening rush hour while in a densely-populated residential area in the vicinity of stores

and shopping centers represented a reckless indifference to the safety and well-being of others,

including the Plaintiff, Carla Vargas, herein.

       80.     Plaintiff, Carla Vargas, is therefore entitled to punitive damages.

       WHEREFORE, Plaintiff, Carla Vargas, respectfully demands judgment in their favor and

against above Defendants, Officer Mills and Officer Morris, for compensatory and punitive

damages in an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus interest, costs, and


                                                 16
                                                                                             Case ID: 250200130
       Case 2:25-cv-02222-GJP           Document 1        Filed 05/02/25      Page 28 of 40




damages for delay.

                                  COUNT IV – NEGLIGENCE

               Carla Vargas v. Officer Zamborowski and Officer Romanczuk

       81.     Plaintiff, Carla Vargas, incorporates by reference thereto paragraphs 1-80 above,

inclusive as though the same were set forth herein at length.

       82.     At all times relevant and material hereto, Defendants, Officer Zamborowski and

Officer Romanczuk, were acting as agents and/or employees of the Philadelphia Police

Department and therefore of Defendant, City of Philadelphia.

       83.     The individual, joint and/or several negligence and/or recklessness of Defendant(s),

Officer Zamborowski and Officer Romanczuk, consisted of the following:

               (a)     Failing to notify nearby motorists and/or pedestrians of the impending
                       police pursuit;

               (b)     Failing to alert motorists of the impending police pursuit, of which
                       Defendants had a clear, unobstructed view;

               (c)     Failing to render timely aid to Plaintiff;

               (d)     Failing to take any obstructive action to prevent Plaintiff, who was
                       unaware of the impending police pursuit, from entering the intersection;
                       and,

               (e)     Failing to utilize any auditory and/or visual signals and/or indications in
                       their capacity as police officers to prevent traffic from entering the aforesaid
                       intersection.

       84.     As a direct and proximate result of the joint and/or several negligence, carelessness,

and/or recklessness of Defendants, Plaintiff, Carla Vargas, suffered the aforementioned serious

and permanent bodily injuries as averred herein.

       85.     The conduct of Defendants, by failing to alert nearby motorists such as Plaintiff of

the impending police pursuit, represented a reckless indifference to the safety and well-being of

others, including the Plaintiff, Carla Vargas, herein.

                                                 17
                                                                                             Case ID: 250200130
       Case 2:25-cv-02222-GJP           Document 1       Filed 05/02/25      Page 29 of 40




       86.     Plaintiff, Carla Vargas, is therefore entitled to punitive damages.

       WHEREFORE, Plaintiff, Carla Vargas, respectfully demands judgment in their favor and

against above Defendants, Officer Zamborowski and Officer Romanczuk, for compensatory and

punitive damages in an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus interest,

costs, and damages for delay.

                                  COUNT V – NEGLIGENCE

                                 Carla Vargas v. John Doe(s) 1-3

       87.     Plaintiff, Carla Vargas, incorporates by reference thereto paragraphs 1-86 above,

inclusive as though the same were set forth herein at length.

       88.     At all times relevant and material hereto, Defendants, John Doe(s) 1-3, were acting

as agents and/or employees of the Philadelphia Police Department and therefore of Defendant,

City of Philadelphia.

       89.     The individual, joint and/or several negligence and/or recklessness of Defendant(s),

John Doe(s) 1-3, consisted of the following:

               (a)      Engaging Defendant Jackson in an unjustifiable police pursuit pursuant to
                        Directive 9.4;

               (b)      Engaging Defendant Jackson in a police pursuit without the reasonable
                        belief that the pursuit was necessary to prevent death or serious bodily
                        injury;

               (c)      Engaging Defendant Jackson in a police pursuit without probable cause to
                        believe the suspect committed or attempted to commit a forcible felony or
                        possessed a deadly weapon;

               (d)      Engaging in a police pursuit with a suspect headed towards an area which
                        Defendants knew or, in their experience, should have known was densely
                        populated with stores, shopping centers, in heavily-traveled intersections;

               (e)      Engaging in a police pursuit during the evening rush hour;

               (f)      Failing to continually monitor the circumstances the determine if the
                        necessity for the police pursuit outweighed the risk to members of the

                                                 18
                                                                                           Case ID: 250200130
          Case 2:25-cv-02222-GJP         Document 1        Filed 05/02/25      Page 30 of 40




                        public, including Plaintiff;

                (g)     Failing to radio nearby units in a timely manner to notify them of the
                        pursuit;

                (h)     Failing to self-terminate the police pursuit in the interest of public safety.

                (i)     Failing to notify nearby motorists and/or pedestrians of the impending
                        police pursuit;

                (j)     Failing to alert motorists of the impending police pursuit, of which
                        Defendants had a clear, unobstructed view;

                (k)     Failing to render timely aid to Plaintiff;

                (l)     Failing to take any obstructive action to prevent Plaintiff, who was
                        unaware of the impending police pursuit, from entering the intersection;
                        and,

                (m)     Failing to utilize any auditory and/or visual signals and/or indications in
                        their capacity as police officers to prevent traffic from entering the aforesaid
                        intersection.

          90.   As a direct and proximate result of the joint and/or several negligence, carelessness,

and/or recklessness of Defendants, Plaintiff, Carla Vargas, suffered the aforementioned serious

and permanent bodily injuries as averred herein.

          91.   The conduct of Defendants, John Doe(s) 1-3, as averred above, represented a

reckless indifference to the safety and well-being of others, including the Plaintiff, Carla Vargas,

herein.

          92.   Plaintiff, Carla Vargas, is therefore entitled to punitive damages.

          WHEREFORE, Plaintiff, Carla Vargas, respectfully demands judgment in their favor and

against above Defendants, John Doe(s) 1-3, for compensatory and punitive damages in an amount

in excess of Fifty Thousand ($50,000.00) Dollars, plus interest, costs, and damages for delay.




                                                  19
                                                                                              Case ID: 250200130
       Case 2:25-cv-02222-GJP          Document 1        Filed 05/02/25      Page 31 of 40




                                 COUNT VI – NEGLIGENCE

                             Carla Vargas v. City of Philadelphia

       93.     Plaintiff, Carla Vargas, incorporates by reference thereto paragraphs 1-92 above,

inclusive as though the same were set forth herein at length.

       94.     At all times relevant and material hereto, Defendants, Officer Mills, Officer Morris,

Officer Zamborowski, Officer Romanczuk, and/or John Doe(s) 1-3, were acting as agents and/or

employees of the Philadelphia Police Department and therefore of Defendant, City of Philadelphia.

       95.     The individual, joint and/or several negligence and/or recklessness of the aforesaid

Defendants is imputed upon the Defendant, City of Philadelphia, by and through the doctrine of

respondeat superior, and consisted of the following:

               (a)    Engaging Defendant Jackson in an unjustifiable police pursuit pursuant to
                      Directive 9.4;

               (b)    Engaging Defendant Jackson in a police pursuit without the reasonable
                      belief that the pursuit was necessary to prevent death or serious bodily
                      injury;

               (c)    Engaging Defendant Jackson in a police pursuit without probable cause to
                      believe the suspect committed or attempted to commit a forcible felony or
                      possessed a deadly weapon;

               (d)    Engaging in a police pursuit with a suspect headed towards an area which
                      Defendants knew or, in their experience, should have known was densely
                      populated with stores, shopping centers, in heavily-traveled intersections;

               (e)    Engaging in a police pursuit during the evening rush hour;

               (f)    Failing to continually monitor the circumstances the determine if the
                      necessity for the police pursuit outweighed the risk to members of the
                      public, including Plaintiff;

               (g)    Failing to radio nearby units in a timely manner to notify them of the
                      pursuit;

               (h)    Failing to self-terminate the police pursuit in the interest of public safety.

               (i)    Failing to notify nearby motorists and/or pedestrians of the impending
                      police pursuit;
                                                20
                                                                                            Case ID: 250200130
         Case 2:25-cv-02222-GJP         Document 1        Filed 05/02/25      Page 32 of 40




                (j)    Failing to alert motorists of the impending police pursuit, of which
                       Defendants had a clear, unobstructed view;

                (k)    Failing to render timely aid to Plaintiff;

                (l)    Failing to take any obstructive action to prevent Plaintiff, who was
                       unaware of the impending police pursuit, from entering the intersection;
                       and,

                (m)    Failing to utilize any auditory and/or visual signals and/or indications in
                       their capacity as police officers to prevent traffic from entering the aforesaid
                       intersection.

         96.    As a direct and proximate result of the joint and/or several negligence, carelessness,

and/or recklessness of Defendants, Plaintiff, Carla Vargas, suffered the aforementioned serious

and permanent bodily injuries as averred herein.

         97.    The conduct of Defendants as averred above, represented a reckless indifference to

the safety and well-being of others, including the Plaintiff, Carla Vargas, herein.

         98.    Plaintiff, Carla Vargas, is therefore entitled to punitive damages.

         WHEREFORE, Plaintiff, Carla Vargas, respectfully demands judgment in their favor and

against above Defendants, City of Philadelphia, for compensatory and punitive damages in an

amount in excess of Fifty Thousand ($50,000.00) Dollars, plus interest, costs, and damages for

delay.

                                  COUNT VII – NEGLIGENCE

                             Carla Vargas v. Symir Yaseen Jackson


         99.    Plaintiff, Carla Vargas, incorporates by reference thereto paragraphs 1-96 above,

inclusive as though the same were set forth herein at length.

         100.   The negligence, recklessness, and/or carelessness of the Defendant, Symir Yaseen

Jackson, consisted of the following:


                                                 21
                                                                                             Case ID: 250200130
      Case 2:25-cv-02222-GJP           Document 1        Filed 05/02/25      Page 33 of 40




              (a)     Failing to stop at a steady red traffic signal, in violation of Section 3112 of
                      the Motor Vehicle Code, 75 Pa.C.S. §3112;

              (b)     Operating a motor vehicle with a careless disregard for the safety and
                      well-being of other motorists, in violation of Section 3714 of the Motor
                      Vehicle Code, 75 Pa.C.S. §3714;

              (c)     Operating a motor vehicle with a reckless disregard for the safety and
                      well-being of other motorists, in violation of Section 3736 of the Motor
                      Vehicle Code, 75 Pa.C.S. §3736;

              (d)     Fleeing, eluding, and/or attempting to flee or elude a police officer in
                      pursuit, in violation of Section 3733 of the Motor Vehicle Code, 75
                      Pa.C.S. §3733;

              (e)     Failing to notice the motor vehicle operated by Plaintiff was traveling into
                      the intersection with the steady green traffic signal;

              (f)     Failing to operate a motor vehicle in accordance with existing traffic
                      conditions and traffic controls;

              (g)     Failing to operate a motor vehicle under proper and adequate control;

              (h)     Failing to apply the vehicle’s brakes in a timely manner before colliding
                      with the motor vehicle operated by Plaintiff;

              (i)     Operating a motor vehicle at a speed that was excessive under the
                      conditions and circumstances there existing;

              (j)     Failing to keep a proper lookout for other motor vehicles lawfully on the
                      roadway;

              (k)     Operating a vehicle at a speed greater than was reasonable and prudent
                      under the conditions then and there existing, in violation of Section 3361
                      of the Motor Vehicle Code, 75 Pa.C.S. §3361; and,

              (l)     Operating a vehicle at a speed greater than would permit them to bring the
                      vehicle to a stop within the assured clear distance ahead, in violation of
                      Section 3361 of the Motor Vehicle Code, 75 Pa.C.S. §3361.

       101.   As a direct and proximate result of the joint and/or several negligence, carelessness,

and/or recklessness of Defendant, Symir Yaseen Jackson, Plaintiff, Carla Vargas, suffered the

aforementioned serious and permanent bodily injuries as averred herein.




                                                22
                                                                                            Case ID: 250200130
         Case 2:25-cv-02222-GJP         Document 1         Filed 05/02/25     Page 34 of 40




         102.   The conduct of Defendant, Symir Yaseen Jackson, in failing to stop while pursued

by marked police officers, represented a reckless indifference to the safety and well-being of

others, including the Plaintiff, Carla Vargas, herein.

         103.   Plaintiff, Carla Vargas, is therefore entitled to punitive damages.

         WHEREFORE, Plaintiff, Carla Vargas, respectfully demands judgment in their favor and

against above Defendants, Symir Yaseen Jackson, for compensatory and punitive damages in an

amount in excess of Fifty Thousand ($50,000.00) Dollars, plus interest, costs, and damages for

delay.


                                                         ZAFRAN LAW GROUP



                                               BY:       /s/ Jared S. Zafran, Esquire
                                                         JARED S. ZAFRAN, ESQUIRE
                                                         Attorney for Plaintiff




                                                 23
                                                                                         Case ID: 250200130
        Case 2:25-cv-02222-GJP           Document 1        Filed 05/02/25      Page 35 of 40




                                         VERIFICATION


        I, Carla Vargas, state that I am the Plaintiff in this action and verify that the statements

made in the foregoing Complaint are true and correct to the best of my knowledge, information

and belief. The undersigned understands that the statements therein are made subject to the

penalties of 18 Pa.C.S. § 4904 relating to unsworn falsifications to authorities.




                                                       ____________________________
                                                       Carla Vargas
Date:




                                                  24
                                                                                              Case ID: 250200130
Case 2:25-cv-02222-GJP   Document 1   Filed 05/02/25   Page 36 of 40




                          Exhibit “C”
       Case 2:25-cv-02222-GJP          Document 1        Filed 05/02/25     Page 37 of 40




City of Philadelphia Law Department                          Attorney for Defendant
Derek Kane, Esquire
Senior Attorney
Attorney Identification No. 316941
1515 Arch Street, 14th Floor
Philadelphia, PA 19102-1595
(215) 683-5374
(215) 683-5397 (fax)
derek.kane@phila.gov

                                                     :
 CARLA VARGAS,                                       :   PHILADELPHIA COUNTY
                                                     :   COURT OF COMMON PLEAS
                               Plaintiff,            :
                                                     :   FEBRUARY TERM 2025
        v.                                           :   No. 250200130
                                                     :
 CITY OF PHILADELPHIA, et al.,                       :
                                                     :
                               Defendants.           :
                                                     :


                       NOTICE OF FILING OF NOTICE OF REMOVAL

To the Prothonotary:

       Pursuant to 28 U.S.C. § 1446(d), Defendant, City of Philadelphia, by and through the

undersigned counsel, hereby give notice that they have filed in the United States District Court for

the Eastern District of Pennsylvania the attached Notice of Removal (without exhibits) of the

above-captioned action.

       Pursuant to 28 U.S.C. § 1446, the filing of this Notice effects the removal of this action to

the federal court, and this Court is directed to “proceed no further unless and until the case is

remanded.” 28 U.S.C. § 1446(d).

                                              Respectfully submitted,

Date: May 1, 2025                             /s/ Derek Kane
                                              Derek Kane, Esquire
JS 44 (Rev. 10/20)         Case 2:25-cv-02222-GJP  Document
                                               CIVIL COVER1 SHEET
                                                              Filed 05/02/25                                                                       Page 38 of 40
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         CARLA VARGAS                                                                                    City of Philadelphia, et al.
   (b) County of Residence of First Listed Plaintiff             Philadelphia                            County of Residence of First Listed Defendant               Philadelphia
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
       Jared S. Zafran, Esquire                                                                       Derek Kane
        1500 Walnut Street, Suite 500                                                                 1515 Arch Street
        Philadelphia, PA 19102                                                                        Philly, PA 19102
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                     and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                          PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1       Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2    Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                Citizen or Subject of a             3          3    Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                        OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                     376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                         3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                                                      400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                    410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                 820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                               830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                           Injury Product                                                     New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                   Liability                                                      840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                 485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                   490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)               850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                 Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                 890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                   891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                 893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                  895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff              Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party                899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                       Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                              Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                   950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                 State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                      8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                       Litigation -
                                                                                                                            (specify)                 Transfer                           Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       42 U.S.C. § 1983
VI. CAUSE OF ACTION Brief description of cause:
                                       alleged violation of the Plaintiff's rights under the US Constitution, state created danger theory
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
05/01/2025
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                            MAG. JUDGE
JS 44 Reverse (Rev. 10/20)   Case 2:25-cv-02222-GJP                 Document 1             Filed 05/02/25            Page 39 of 40
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
10/2024                    Case 2:25-cv-02222-GJP                         Document 1                 Filed 05/02/25             Page 40 of 40
                                                          UNITED STATES DISTRICT COURT
                                                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                           DESIGNATION FORM

                                                           Philadelphia, PA
    Place of Accident, Incident, or Transaction:_______________________________________________________________________




      RELATED CASE IF ANY: Case Number:______________________ Judge:________________________________

           1.    Does this case involve property included in an earlier numbered suit?                                                                   Yes

           2.    Does this case involve a transaction or occurrence which was the subject of an earlier numbered suit?                                   Yes

           3.    Does this case involve the validity or infringement of a patent which was the subject of an earlier numbered suit?                      Yes

           4.    Is this case a second or successive habeas corpus petition, social security appeal, or pro se case filed by the same                    Yes
                 individual?

           5.    Is this case related to an earlier numbered suit even though none of the above categories apply?                                        Yes
                 If yes, attach an explanation.
      I certify that, to the best of my knowledge and belief, the within case                     is /    is not related to any pending or previously terminated
      action in this court.


      Civil Litigation Categories

           A.    Federal Question Cases:                                                                 B. Diversity Jurisdiction Cases:

                 1.  Indemnity Contract, Marine Contract, and All Other Contracts)          1. Insurance Contract and Other Contracts
                 2.  FELA                                                                   2. Airplane Personal Injury
                 3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                 4.  Antitrust                                                              4. Marine Personal Injury
                 5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                 6.  Patent                                                                 6. Other Personal Injury (Please specify):________________
                 7.  Copyright/Trademark                                                    7. Products Liability
                 8.  Employment                                                             8. All Other Diversity Cases: (Please specify)______________
                 9.  Labor-Management Relations                                                _____________________
                 10. Civil Rights
                 11. Habeas Corpus
                 12. Securities Cases
                 13. Social Security Review Cases
                 14. Qui Tam Cases
                 15. Cases Seeking Systemic Relief *see certification below*
                 16. All Other Federal Question Cases. (Please specify):_____________________________

      I certify that, to the best of my knowledge and belief, that the remedy sought in this case       does /     does not have implications
      beyond the parties before the court and       does /     does not seek to bar or mandate statewide or nationwide enforcement of a state or
      federal law including a rule, regulation, policy, or order of the executive branch or a state or federal agency, whether by declaratory
      judgment and/or any form of injunctive relief.

                                                   ARBITRATION CERTIFICATION (CHECK ONLY ONE BOX BELOW)

      I certify that, to the best of my knowledge and belief:

                Pursuant to Local Civil Rule 53.2(3), this case is not eligible for arbitration either because (1) it seeks relief other than money damages; (2) the
      money damages sought are in excess of $150,000 exclusive of interest and costs; (3) it is a social security case, includes a prisoner as a party, or alleges a
      violation of a right secured by the U.S. Constitution, or (4) jurisdiction is based in whole or in part on 28 U.S.C. § 1343.


                None of the restrictions in Local Civil Rule 53.2 apply and this case is eligible for arbitration.

      NOTE: A trial de novo will be by jury only if there has been compliance with F.R.C.P. 38.
